                             IN THE UNITED STATES DISTRICT COURT
                            FOR THE WESTERN DISTRICT OF MISSOURI

        K.C. HOPPS, LTD.,                       )
                                                )
               Plaintiff,                       )      CASE NO. 4:20-CV-437
                                                )
               vs.                              )
                                                )
        THE CINCINNATI INSURANCE                )
        COMPANY,                                )
                                                )
               Defendant.                       )



                        DEFENDANT’S PROPOSED JURY INSTRUCTIONS

               Subject to the submission of further proposed instructions or modifications or

        withdrawal of these instructions after the Court’s final ruling on the parties’ Motions

        in Limine for trial, to reflect other developments between now and the time of trial

        and/or following the completion of the submission of evidence at trial, Defendant The

        Cincinnati Insurance Company. (“Defendant”) submits the following proposed jury

        instructions taken from and/or drawn in the manner of the Model Civil Jury

        Instructions for the District Courts of the Eighth Circuit (2020) and/or Missouri

        Approved Jury Instructions (Civil), Eighth Edition, and/or Kansas P.I.K.

        Instructions, and/or the insurance policy, and/or appropriate law where available and

        appropriate.


               Defendant objects to the failure to give these instructions and objects to the

        use of any other instructions without Defendant’s agreement. Defendant further

        requests the opportunity to state its distinct grounds for objections to any instruction



102112654.v1
               Case 4:20-cv-00437-SRB Document 167 Filed 09/28/21 Page 1 of 32
        herein that are not submitted or any instructions submitted that are inconsistent

        with the instructions herein.


                   Defendant reserves its right pursuant to Rules 51(b)(2) and 51(c)(2) to make

        additional objections before the instructions and argument.            Without waiver of

        additional objections and pursuant to Rule 51(c), Defendant objects to Plaintiff’s

        proposed instructions as follows:


                  Plaintiff’s Instruction No. 3:     Defendant objects to Plaintiff’s proposed

                   instruction number 3 which is based on the 8th Circuit Model Instruction 1.03.

                   Plaintiff’s description of the case is not supported by the evidence and it

                   misstates the evidence and is not objective. Defendant reserves the right to

                   assert additional objections.

                  Plaintiff’s Instruction No. 10: Defendant objects to providing any stipulations

                   or stipulations of facts to the jury not expressly agreed to by Defendant.

                   Defendant reserves the right to assert additional objections..

                  Plaintiff’s Instruction No. 11: Defendant objects to providing any stipulations

                   or stipulations of facts to the jury not expressly agreed to by Defendant.

                   Defendant reserves the right to assert additional objections.

                  Plaintiff’s Instruction No. 12: Defendant objects to providing any stipulations

                   or stipulations of facts to the jury not expressly agreed to by Defendant.

                   Defendant reserves the right to assert additional objections.

                  Plaintiff’s Instruction No. 20:    Defendant objects to Plaintiff’s proposed

                   instruction number 20. Plaintiff has modified Eighth Circuit Model instruction


102112654.v1
                   Case 4:20-cv-00437-SRB Document 167 Filed 09/28/21 Page 2 of 32
                   3.04. There is no reason to modify the Model Instruction which adequately

                   describes the burden of proof. Defendant incorporates its instruction number

                   7 which appropriately describes the burden.

                  Plaintiff’s Instruction No. 23: The only objection to this instruction is that it

                   adds a requirement that all jurors sign the verdict form. There is no reason

                   for such a requirement. If a party wishes to, it may poll the jury.

                  Plaintiff’s Instruction No. 24: Defendant objects to Plaintiff’s Instruction No.

                   24 as it misstates the requirements, provisions, and terms of the subject

                   insurance policy and the applicable law concerning the same.          Defendant

                   incorporates its briefing concerning its Motion for Summary Judgment.

                   Defendant further refers the Court to Defendant’s Instructions Nos. 5 and 6

                   and Oral Surgeons, P.C. v. Cincinnati Ins. Co., 2 F.4th 1141, 1144 (8th Cir.

                   2021); Santo's Italian Café LLC v. Acuity Ins. Co., No. 21-3068, 2021 U.S. App.

                   LEXIS 28720, at *10 (6th Cir. Sep. 22, 2021); and Promotional Headwear Int'l

                   v. Cincinnati Ins. Co., 504 F. Supp. 3d 1191, 1203 (D. Kan. 2020).

                  Plaintiff’s Instruction No. 25 (Verdict Form): Defendant objects to Plaintiff’s

                   verdict form because it does not list each KC Hopps entity individually and

                   because it requires jury signature.


               Defendant does not object to Plaintiff’s Instructions Nos. 1, 2, 4, 5-9, 13-19, 21,

               and 22.




102112654.v1
                   Case 4:20-cv-00437-SRB Document 167 Filed 09/28/21 Page 3 of 32
                                                WALLACE SAUNDERS

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                                                ATTORNEYS FOR DEFENDANT THE
                                                CINCINNATI INSURANCE COMPANY
        CERTIFICATE OF SERVICE
        I hereby certify that on September 29, 2021, I
        electronically filed the foregoing with the Clerk of the
        Court using the CM/ECF system which will send a
        notice of electronic filing to:
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102112654.v1
               Case 4:20-cv-00437-SRB Document 167 Filed 09/28/21 Page 4 of 32
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        ATTORNEYS FOR PLAINTIFF

        _/s/   _Michael L. Brown________




102112654.v1
                Case 4:20-cv-00437-SRB Document 167 Filed 09/28/21 Page 5 of 32
                     INSTRUCTION NO. _____(Defendant’s Instruction No. 1)


               Members of the Jury: I am now going to give you some instructions about this
        case and about your duties as jurors. At the end of the trial I will give you more
        instructions. I may also give you instructions during the trial. All instructions - those
        I give you now and those I give you later - whether they are in writing or given to you
        orally – are equally important and you must follow them all.
               [Describe your court’s digital electronic device policy, such as “You must leave
        your cell phone, PDA, smart phone, iPhone, tablet computer, and any other wireless
        communication devices] in the jury room during the trial and may only use them
        during breaks. However, you are not allowed to have those devices in the jury room
        during your deliberations. You may give them to the [bailiff] [deputy clerk] [court
        security officer] for safekeeping just before you start to deliberate. They will be
        returned to you when your deliberations are complete.”]
               This is a civil case brought by plaintiff K.C. Hopps, Ltd. against defendant The
        Cincinnati Insurance Company, Inc. This case involves a contract dispute arising
        under the commercial property policy of insurance Cincinnati issued to plaintiff.
        Plaintiff owns and operates several bars, restaurants, catering services and event
        spaces on both the Kansas and Missouri sides of the Kansas City metropolitan area.
        Plaintiff contends in this lawsuit that the insurance policy provides coverage for
        economic losses it allegedly sustained between March 2020 and December 2020 as a
        result of the Coronavirus. Plaintiff contends that Defendant breached the terms of
        the insurance policy by failing to acknowledge coverage under the policy and pay
        plaintiff for its alleged business interruption losses. Defendant denies that the policy
        provides coverage for plaintiff’s alleged economic losses, and, as such, denies that it
        breached the insurance policy
               In a case like this claiming a breach of contract, the judge decides what the
        terms of the contract mean and the obligations of the parties to that contract. At an
        earlier stage of this case, I determined as a matter of law that [INSERT FROM



102112654.v1
               Case 4:20-cv-00437-SRB Document 167 Filed 09/28/21 Page 6 of 32
        FORTHCOMING ORDER]. These earlier determinations will not be revisited and
        are considered conclusive at this trial.
               It will be your duty to decide from the evidence whether the plaintiff is entitled
        to a verdict against the defendant.
               Your duty is to decide what the facts are from the evidence. You are allowed to
        consider the evidence in the light of your own observations and experiences. After you
        have decided what the facts are, you will have to apply those facts to the law that I
        give you in these and in my other instructions. That is how you will reach your
        verdict. Only you will decide what the facts are. However, you must follow my
        instructions, whether you agree with them or not. You have taken an oath to follow
        the law that I give you in my instructions.
               In deciding what the facts are, you may have to decide what testimony you
        believe and what testimony you do not believe. You may believe all of what a witness
        says, or only part of it, or none of it.
               In deciding what testimony to believe, consider the witnesses’ intelligence,
        their opportunity to have seen or heard the things they testify about, their memories,
        any reasons they might have to testify a certain way, how they act while testifying,
        whether they said something different at another time, whether their testimony is
        generally reasonable, and how consistent their testimony is with other evidence that
        you believe.
               Do not let sympathy, or your own likes or dislikes, influence you. The law
        requires you to come to a just verdict based only on the evidence, your common sense,
        and the law that I give you in my instructions, and nothing else.
               Nothing I say or do during this trial is meant to suggest what I think of the
        evidence or I think your verdict should be.




        This proposed instruction is agreed upon by the parties.
        8th Cir. Civil Jury Instr. § 1.03 (2020).



102112654.v1
                Case 4:20-cv-00437-SRB Document 167 Filed 09/28/21 Page 7 of 32
                     INSTRUCTION NO. _____ (Defendant’s Instruction No. 2)

        You will have to decide whether certain facts have been proved. A fact has been
        proved, if you find that it is more likely true than not true. You decide that by
        considering all of the evidence and deciding what evidence is more believable.

        You have probably heard the phrase “proof beyond a reasonable doubt.” That is a
        stricter standard than “more likely true than not true.” It applies in criminal cases,
        but not in this civil case; so put it out of your mind.




        This proposed instruction is [is not] agreed upon by the parties.
        8th Cir. Civil Jury Instr. § 3.04 (2020)



102112654.v1
               Case 4:20-cv-00437-SRB Document 167 Filed 09/28/21 Page 8 of 32
                     INSTRUCTION NO. _____ (Defendant’s Instruction No. 3)

                                  (DEFINITION OF CONTRACT)

              A contract is an agreement between two or more persons consisting of a set of
        promises that are legally enforceable.




        This proposed instruction is [is not] agreed upon by the parties.
        PIK 4th 124.01.




102112654.v1
               Case 4:20-cv-00437-SRB Document 167 Filed 09/28/21 Page 9 of 32
                     INSTRUCTION NO. _____(Defendant’s Instruction No. 4)

                                         (POLICY TERMS)

               The obligation of the insurance company is governed by the provisions of the
        policy. Endorsements are a part of the policy.

              Words used in an insurance policy are to be read and understood in their
        ordinary and usual meaning except those specially defined by the court in these
        instructions.




        This proposed instruction is [is not] agreed upon by the parties.
        PIK 4th 124.31




102112654.v1
               Case 4:20-cv-00437-SRB Document 167 Filed 09/28/21 Page 10 of 32
               INSTRUCTION NO. __________________(Defendant’s Instruction No. 5)
                        (VERDICT DIRECTOR – BREACH OF CONTRACT)
               Your verdict must be for plaintiff if you believe:
              First, Defendant issued to Plaintiff a commercial property insurance policy
        bearing Policy No. EPP 012 40 51 / EBA 012 40 51, for the coverage period from
        January 25, 2020, through January 25, 2023.
              Second, the policy was in force on the date of any direct physical loss or direct
        physical damage to property at one or more of Plaintiff’s premises.
              Third, Plaintiff suffered direct physical loss or direct physical damage to
        property at one or more of the premises involved here, caused by SARS-CoV-2.
              Fourth, Plaintiff suffered actual loss of Business Income due to the necessary
        suspension of Plaintiff’s operations during a period of restoration;
              Fifth, the period of restoration was caused and made necessary by direct
        physical loss or damage to property at one or more of Plaintiff’s premises caused by
        SARS-CoV-2; and
               Sixth, Defendant refused coverage and was therefore in breach of contract.
            Unless, you believe plaintiff is not entitled to recover by reason of Instructions
        Numbered ______________
        This proposed instruction is [is not] agreed upon by the parties.




        Oral Surgeons, P.C. v. Cincinnati Ins. Co., 2 F.4th 1141, 1144 (8th Cir. 2021);
        Santo's Italian Café LLC v. Acuity Ins. Co., No. 21-3068, 2021 U.S. App. LEXIS
        28720, at *10 (6th Cir. Sep. 22, 2021);
        Promotional Headwear Int'l v. Cincinnati Ins. Co., 504 F. Supp. 3d 1191, 1203 (D.
        Kan. 2020);
        The Insurance Policy;
        Mo. Approved Jury Instr. (Civil) 31.09 (8th ed);
        P.I.K.4t 124.01A.




102112654.v1
               Case 4:20-cv-00437-SRB Document 167 Filed 09/28/21 Page 11 of 32
               INSTRUCTION NO. __________________(Defendant’s Instruction No. 6)
                (VERDICT DIRECTOR – BREACH OF CONTRACT (CONVERSE))
        Your verdict must be for defendant unless you believe:
              First, Defendant issued to Plaintiff a commercial property insurance policy
        bearing Policy No. EPP 012 40 51 / EBA 012 40 51, for the coverage period from
        January 25, 2020, through January 25, 2023.
              Second, the policy was in force on the date of any direct physical loss or direct
        physical damage to property at one or more of Plaintiff’s premises.
              Third, Plaintiff suffered direct physical loss or direct physical damage to
        property at one or more of the premises involved here, caused by SARS-CoV-2.
              Fourth, Plaintiff suffered actual loss of Business Income due to the necessary
        suspension of Plaintiff’s operations during a period of restoration;
              Fifth, the period of restoration was caused and made necessary by direct
        physical loss or damage to property at one or more of Plaintiff’s premises caused by
        SARS-CoV-2; and
               Sixth, Defendant refused coverage and was therefore in breach of contract.




        This proposed instruction is [is not] agreed upon by the parties.
        Oral Surgeons, P.C. v. Cincinnati Ins. Co., 2 F.4th 1141, 1144 (8th Cir. 2021);
        Santo's Italian Café LLC v. Acuity Ins. Co., No. 21-3068, 2021 U.S. App. LEXIS
        28720, at *10 (6th Cir. Sep. 22, 2021);
        Promotional Headwear Int'l v. Cincinnati Ins. Co., 504 F. Supp. 3d 1191, 1203 (D.
        Kan. 2020);
        Mo. Approved Jury Instr. (Civil) 31.09 (8th ed);
        The insurance policy; and
        P.I.K.4t 124.01A.




102112654.v1
               Case 4:20-cv-00437-SRB Document 167 Filed 09/28/21 Page 12 of 32
                 INSTRUCTION NO. _____________(Defendant’s Instruction No. 7)
                                       (CONTRACT TERMS)
               Wherever in these instructions the term direct physical loss or direct physical
        damage are used, that means that property has not suffered direct physical loss or
        direct physical damage unless it requires repair, rebuilding or replacement. There
        must be some physicality, such as physical loss, physical contamination or damage to
        property. The Coronavirus pandemic and related government-imposed restrictions do
        not constitute direct physical loss or direct physical damage to property. A
        government order prohibiting in-person dining (or imposing other restrictions on a
        business) does not constitute direct physical loss or direct physical damage to
        property. Direct physical loss or direct physical damage under the Policy requires
        more than mere diminution in value or impairment of use of the property.




        This proposed instruction is [is not] agreed upon by the parties.
        Oral Surgeons, P.C. v. Cincinnati Ins. Co., 2 F.4th 1141, 1144 (8th Cir. 2021);
        Santo's Italian Café LLC v. Acuity Ins. Co., No. 21-3068, 2021 U.S. App. LEXIS
        28720, at *10 (6th Cir. Sep. 22, 2021);
        Promotional Headwear Int'l v. Cincinnati Ins. Co., 504 F. Supp. 3d 1191, 1203 (D.
        Kan. 2020);
        The Insurance Policy.



102112654.v1
               Case 4:20-cv-00437-SRB Document 167 Filed 09/28/21 Page 13 of 32
                 INSTRUCTION NO. _____________(Defendant’s Instruction No. 8)
                                       (CONTRACT TERMS)
        Physical contamination is more than the presence of contaminants but means
        contaminants that permeate the property and are not removable by ordinary
        cleaning or disinfection.




        This proposed instruction is [is not] agreed upon by the parties.
        Oral Surgeons, P.C. v. Cincinnati Ins. Co., 2 F.4th 1141, 1144 (8th Cir. 2021);
        Santo's Italian Café LLC v. Acuity Ins. Co., No. 21-3068, 2021 U.S. App. LEXIS
        28720, at *10 (6th Cir. Sep. 22, 2021);
        Promotional Headwear Int'l v. Cincinnati Ins. Co., 504 F. Supp. 3d 1191, 1203 (D.
        Kan. 2020); and
        The Insurance Policy.


102112654.v1
               Case 4:20-cv-00437-SRB Document 167 Filed 09/28/21 Page 14 of 32
                 INSTRUCTION NO. _____________(Defendant’s Instruction No. 9)
                                       (CONTRACT TERMS)
               Insurance is a matter of contract and parties have the right to employ whatever
        terms they wish. Words used in an insurance policy are to be read and understood in
        their ordinary and usual meaning. Exclusions are necessary provisions in insurance
        policies. It is the insured's burden to establish coverage and the insurer's burden to
        show that an exclusion to coverage applies.




        This proposed instruction is [is not] agreed upon by the parties.
        Monday Restaurants LLC v. Intrepid Ins. Co., No. 4:20 CV 1015 SNLJ, 2021 WL
        2222692, at *2 (E.D. Mo. June 2, 2021) quoting Todd v. Mo. United Sch. Ins. Council,
        223 S.W.3d 156, 163 (Mo. banc 2007);
        Mo. Approved Jury Instr. (Civil) 32.24 (8th ed);
        Pattern Inst. Kan. Civil 124.31; Comment to Pattern Inst. Kan. Civil 124.31.




102112654.v1
               Case 4:20-cv-00437-SRB Document 167 Filed 09/28/21 Page 15 of 32
                INSTRUCTION NO. _____________(Defendant’s Instruction No. 10)
                                       (CONTRACT TERMS)
               Your verdict must be for Defendant if you believe that any alleged loss was
        caused directly or indirectly by an Ordinance or Law regulating the use of any
        building or structure regardless of any other cause or event that contributes
        concurrently or in any sequence to the loss.
        .




        This proposed instruction is [is not] agreed upon by the parties.
        Monday Restaurants LLC v. Intrepid Ins. Co., No. 4:20 CV 1015 SNLJ, 2021 WL
        2222692, at *2 (E.D. Mo. June 2, 2021) quoting Todd v. Mo. United Sch. Ins. Council,
        223 S.W.3d 156, 163 (Mo. banc 2007);
        Vogelsang v. Travelers Home & Marine Ins. Co., No. ED 109377, 2021 WL 3086223,
        at *1 (Mo. Ct. App. June 29, 2021), reh'g and/or transfer denied (Aug. 2, 2021);
        Pattern Inst. Kan. Civil 106.1; CACI No. 2303, Affirmative Defense - Insurance Policy
        Exclusion;
        The Insurance Policy;
        Mo. Approved Jury Instr. (Civil) 31.09 (8th ed); and
        Mo. Approved Jury Instr. (Civil) 4.01 (8th ed).



102112654.v1
               Case 4:20-cv-00437-SRB Document 167 Filed 09/28/21 Page 16 of 32
                INSTRUCTION NO. _____________(Defendant’s Instruction No. 11)
                                       (CONTRACT TERMS)
              Your verdict must be for Defendant if you believe that any alleged loss was
        caused directly or indirectly by any seizure or destruction of property by order of
        governmental authority regardless of any other cause or event that contributes
        concurrently or in any sequence to the loss.




        This proposed instruction is [is not] agreed upon by the parties.
        Monday Restaurants LLC v. Intrepid Ins. Co., No. 4:20 CV 1015 SNLJ, 2021 WL
        2222692, at *2 (E.D. Mo. June 2, 2021) quoting Todd v. Mo. United Sch. Ins. Council,
        223 S.W.3d 156, 163 (Mo. banc 2007);
        Vogelsang v. Travelers Home & Marine Ins. Co., No. ED 109377, 2021 WL 3086223,
        at *1 (Mo. Ct. App. June 29, 2021), reh'g and/or transfer denied (Aug. 2, 2021);
        Pattern Inst. Kan. Civil 106.1; CACI No. 2303, Affirmative Defense - Insurance Policy
        Exclusion;
        The Insurance Policy;
        Mo. Approved Jury Instr. (Civil) 31.09 (8th ed); and
        Mo. Approved Jury Instr. (Civil) 4.01 (8th ed).



102112654.v1
               Case 4:20-cv-00437-SRB Document 167 Filed 09/28/21 Page 17 of 32
                INSTRUCTION NO. _____________(Defendant’s Instruction No. 12)
                                       (CONTRACT TERMS)
              Your verdict must be for Defendant if you believe that any alleged loss was
        caused by or resulted from any delay, loss of use or loss of market.




        This proposed instruction is [is not] agreed upon by the parties.
        Monday Restaurants LLC v. Intrepid Ins. Co., No. 4:20 CV 1015 SNLJ, 2021 WL
        2222692, at *2 (E.D. Mo. June 2, 2021) quoting Todd v. Mo. United Sch. Ins. Council,
        223 S.W.3d 156, 163 (Mo. banc 2007);
        Vogelsang v. Travelers Home & Marine Ins. Co., No. ED 109377, 2021 WL 3086223,
        at *1 (Mo. Ct. App. June 29, 2021), reh'g and/or transfer denied (Aug. 2, 2021);
        Pattern Inst. Kan. Civil 106.1; CACI No. 2303, Affirmative Defense - Insurance Policy
        Exclusion;
        The Insurance Policy;
        Mo. Approved Jury Instr. (Civil) 31.09 (8th ed); and
        Mo. Approved Jury Instr. (Civil) 4.01 (8th ed).




102112654.v1
               Case 4:20-cv-00437-SRB Document 167 Filed 09/28/21 Page 18 of 32
                INSTRUCTION NO. _____________(Defendant’s Instruction No. 13)
                                       (CONTRACT TERMS)
              Your verdict must be for Defendant if you believe that any alleged loss was
        caused by or resulting from Discharge, dispersal, seepage, migration, release, escape
        or emission of pollutants.

               The term Pollutants means any physical irritant or contaminant.




        This proposed instruction is [is not] agreed upon by the parties.
        Monday Restaurants LLC v. Intrepid Ins. Co., No. 4:20 CV 1015 SNLJ, 2021 WL
        2222692, at *2 (E.D. Mo. June 2, 2021) quoting Todd v. Mo. United Sch. Ins. Council,
        223 S.W.3d 156, 163 (Mo. banc 2007);
        Vogelsang v. Travelers Home & Marine Ins. Co., No. ED 109377, 2021 WL 3086223,
        at *1 (Mo. Ct. App. June 29, 2021), reh'g and/or transfer denied (Aug. 2, 2021);
        Pattern Inst. Kan. Civil 106.1; CACI No. 2303, Affirmative Defense - Insurance Policy
        Exclusion;
        The Insurance Policy;
        Mo. Approved Jury Instr. (Civil) 31.09 (8th ed); and
        Mo. Approved Jury Instr. (Civil) 4.01 (8th ed).




102112654.v1
               Case 4:20-cv-00437-SRB Document 167 Filed 09/28/21 Page 19 of 32
                INSTRUCTION NO. _____________(Defendant’s Instruction No. 14)
                                        (CONTRACT TERMS)
              Your verdict must be for Defendant if you believe that any alleged loss was
        caused by or resulting from acts or decisions, including the failure to act or decide, of
        any person, group, organization or governmental body.




        This proposed instruction is [is not] agreed upon by the parties.
        Monday Restaurants LLC v. Intrepid Ins. Co., No. 4:20 CV 1015 SNLJ, 2021 WL
        2222692, at *2 (E.D. Mo. June 2, 2021) quoting Todd v. Mo. United Sch. Ins. Council,
        223 S.W.3d 156, 163 (Mo. banc 2007);
        Vogelsang v. Travelers Home & Marine Ins. Co., No. ED 109377, 2021 WL 3086223,
        at *1 (Mo. Ct. App. June 29, 2021), reh'g and/or transfer denied (Aug. 2, 2021);
        Pattern Inst. Kan. Civil 106.1; CACI No. 2303, Affirmative Defense - Insurance Policy
        Exclusion;
        The Insurance Policy;
        Mo. Approved Jury Instr. (Civil) 31.09 (8th ed); and
        Mo. Approved Jury Instr. (Civil) 4.01 (8th ed).



102112654.v1
               Case 4:20-cv-00437-SRB Document 167 Filed 09/28/21 Page 20 of 32
                    INSTRUCTION NO. _____(Defendant’s Instruction No. 15)

                                      MITIGATION OF LOSS

               If you find that the plaintiff is entitled to recover damages for breach of the
        contract, then in fixing the amount of damages you should not include any loss that
        it could have prevented by reasonable care and diligence.




        PIK 4th 124.18




102112654.v1
               Case 4:20-cv-00437-SRB Document 167 Filed 09/28/21 Page 21 of 32
                     INSTRUCTION NO. _____(Defendant’s Instruction No. 16)

                    MEASURE OF DAMAGES FOR BREACH OF CONTRACT

               If you find for the plaintiff, then you should award the plaintiff such sum as
        you believe will fairly and justly compensate the plaintiff for the damages you believe
        it sustained as a direct result of the breach of contract by the defendant.

               In determining plaintiff’s damages you should consider any of the following
        elements of damage that you find were the result of the breach: The amount of actual
        loss of Business Income due to the necessary suspension of Plaintiff’s operations
        during a period of restoration caused by direct physical loss or damage to property at
        one or more of Plaintiff’s premises, caused by SARS-CoV-2.
              You may also consider the amount of government assistance and grants,
        including but not limited to grants from the PPP and CARES Act programs, received
        by Plaintiff.
              The total amount of your verdicts may not exceed the total sum of $1,727,739,
        the amount of plaintiff’s claim.




        This proposed instruction is [is not] agreed upon by the parties.


        PIK 4th 124.16 (modified)



102112654.v1
               Case 4:20-cv-00437-SRB Document 167 Filed 09/28/21 Page 22 of 32
                 INSTRUCTION NO. ____________(Defendant’s Instruction No. 17)


              The verdict form included in these instructions contains directions for
        completion and will allow you to return the permissible verdicts in this case. All of
        you must agree in order to return any verdict.




        This proposed instruction is [is not] agreed upon by the parties.
        Mo. Approved Jury Instr. (Civil) 2.04 (8th ed) (modified).


102112654.v1
               Case 4:20-cv-00437-SRB Document 167 Filed 09/28/21 Page 23 of 32
          VERDICT FORM A – BREACH OF CONTRACT (Defendant’s Instruction No. 18)


        Note: Complete this form by writing in the name required by your verdict.
              On the claim of plaintiff K.C. Hopps, Ltd. for breach of contract against
        defendant The Cincinnati Insurance Company, Inc., concerning O’Dowd’s, LLC, a
        Missouri limited liability company, d/b/a O’Dowd’s Gastrobar, 4742 Pennsylvania
        Avenue, Kansas City, MO 64112, we the jurors, find in favor of:




        ______________________________________________________________________________
          Plaintiff K.C. Hopps, Ltd.   or   Defendant The Cincinnati Insurance Company,
                                                Inc.




        Note: Complete the following paragraph only if the above finding is in favor of
              plaintiff K.C. Hopps, Ltd.


               We, the jurors, assess the damages of plaintiff K.C. Hopps, Ltd. at:


               $_____________________ (stating the amount).




        This proposed instruction is [is not] agreed upon by the parties.
        Mo. Approved Jury Instr. (Civil) 36.01 (8th ed) (modified)
        Removed Signatures pursuant to 8th Circuit Verdict Forms.




102112654.v1
               Case 4:20-cv-00437-SRB Document 167 Filed 09/28/21 Page 24 of 32
          VERDICT FORM B – BREACH OF CONTRACT (Defendant’s Instruction No. 19)


        Note: Complete this form by writing in the name required by your verdict.
        On the claim of plaintiff K.C. Hopps, Ltd. for breach of contract against defendant
        The Cincinnati Insurance Company, Inc., concerning Briarcliff Events, LLC, a
        Missouri limited liability company, d/b/a The View at Briarcliff Event Space, 4000 N
        Mulberry Drive, Kansas City, MO 64116, we the jurors, find in favor of:




        ______________________________________________________________________________
          Plaintiff K.C. Hopps, Ltd.   or   Defendant The Cincinnati Insurance Company,
                                                Inc.




        Note: Complete the following paragraph only if the above finding is in favor of
              plaintiff K.C. Hopps, Ltd.


               We, the jurors, assess the damages of plaintiff K.C. Hopps, Ltd. at:


               $_____________________ (stating the amount).




        This proposed instruction is [is not] agreed upon by the parties.
        Mo. Approved Jury Instr. (Civil) 36.01 (8th ed) (modified)
        Removed Signatures pursuant to 8th Circuit Verdict Forms.




102112654.v1
               Case 4:20-cv-00437-SRB Document 167 Filed 09/28/21 Page 25 of 32
          VERDICT FORM C – BREACH OF CONTRACT (Defendant’s Instruction No. 20)


        Note: Complete this form by writing in the name required by your verdict.
              On the claim of plaintiff K.C. Hopps, Ltd. for breach of contract against
        defendant The Cincinnati Insurance Company, Inc., concerning Arena Promotions,
        LLC, a Missouri limited liability, 1800 Genessee Street, Kansas City, MO 64102, we
        the jurors, find in favor of:




        ______________________________________________________________________________
          Plaintiff K.C. Hopps, Ltd.   or   Defendant The Cincinnati Insurance Company,
                                                Inc.




        Note: Complete the following paragraph only if the above finding is in favor of
              plaintiff K.C. Hopps, Ltd.


               We, the jurors, assess the damages of plaintiff K.C. Hopps, Ltd. at:


               $_____________________ (stating the amount).




        This proposed instruction is [is not] agreed upon by the parties.
        Mo. Approved Jury Instr. (Civil) 36.01 (8th ed) (modified)
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102112654.v1
               Case 4:20-cv-00437-SRB Document 167 Filed 09/28/21 Page 26 of 32
          VERDICT FORM D – BREACH OF CONTRACT (Defendant’s Instruction No. 21)


        Note: Complete this form by writing in the name required by your verdict.
               On the claim of plaintiff K.C. Hopps, Ltd. for breach of contract against
        defendant The Cincinnati Insurance Company, Inc., concerning Southeast KC
        Restaurant Co., LLC, a Missouri limited liability company, d/b/a Blue Moose Bar &
        Grill, Red Bridge, 11134 Holmes Road, Kansas City, MO 64131, we the jurors, find
        in favor of:




        ______________________________________________________________________________
          Plaintiff K.C. Hopps, Ltd.   or   Defendant The Cincinnati Insurance Company,
                                                Inc.




        Note: Complete the following paragraph only if the above finding is in favor of
              plaintiff K.C. Hopps, Ltd.


               We, the jurors, assess the damages of plaintiff K.C. Hopps, Ltd. at:


               $_____________________ (stating the amount).




        This proposed instruction is [is not] agreed upon by the parties.
        Mo. Approved Jury Instr. (Civil) 36.01 (8th ed) (modified)
        Removed Signatures pursuant to 8th Circuit Verdict Forms.




102112654.v1
               Case 4:20-cv-00437-SRB Document 167 Filed 09/28/21 Page 27 of 32
          VERDICT FORM E – BREACH OF CONTRACT (Defendant’s Instruction No. 22)


        Note: Complete this form by writing in the name required by your verdict.
              On the claim of plaintiff K.C. Hopps, Ltd. for breach of contract against
        defendant The Cincinnati Insurance Company, Inc., concerning Blue Moose, LLC, a
        Kansas limited liability company, d/b/a Blue Moose Bar & Grill, Prairie Village, 4160
        W 71st Street, Prairie Village, KS 66208, we the jurors, find in favor of:




        ______________________________________________________________________________
          Plaintiff K.C. Hopps, Ltd.   or   Defendant The Cincinnati Insurance Company,
                                                Inc.




        Note: Complete the following paragraph only if the above finding is in favor of
              plaintiff K.C. Hopps, Ltd.


               We, the jurors, assess the damages of plaintiff K.C. Hopps, Ltd. at:


               $_____________________ (stating the amount).




        This proposed instruction is [is not] agreed upon by the parties.
        Mo. Approved Jury Instr. (Civil) 36.01 (8th ed) (modified)
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102112654.v1
               Case 4:20-cv-00437-SRB Document 167 Filed 09/28/21 Page 28 of 32
          VERDICT FORM F – BREACH OF CONTRACT (Defendant’s Instruction No. 23)


        Note: Complete this form by writing in the name required by your verdict.
               On the claim of plaintiff K.C. Hopps, Ltd. for breach of contract against
        defendant The Cincinnati Insurance Company, Inc., concerning Barley’s Brewhaus,
        LLC, a Kansas limited liability company, d/b/a Barley’s Brewhaus, 16649 Midland
        Drive, Shawnee, KS 66217, we the jurors, find in favor of:




        ______________________________________________________________________________
          Plaintiff K.C. Hopps, Ltd.   or   Defendant The Cincinnati Insurance Company,
                                                Inc.




        Note: Complete the following paragraph only if the above finding is in favor of
              plaintiff K.C. Hopps, Ltd.


               We, the jurors, assess the damages of plaintiff K.C. Hopps, Ltd. at:


               $_____________________ (stating the amount).




        This proposed instruction is [is not] agreed upon by the parties.
        Mo. Approved Jury Instr. (Civil) 36.01 (8th ed) (modified)
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102112654.v1
               Case 4:20-cv-00437-SRB Document 167 Filed 09/28/21 Page 29 of 32
          VERDICT FORM G – BREACH OF CONTRACT (Defendant’s Instruction No. 24)


        Note: Complete this form by writing in the name required by your verdict.
              On the claim of plaintiff K.C. Hopps, Ltd. for breach of contract against
        defendant The Cincinnati Insurance Company, Inc., concerning Falcon Ridge
        Restaurant, LLC, a Kansas limited liability company, d/b/a Blue Moose Bar & Grill,
        Lenexa, 10064 Woodland Road, Lenexa, KS 66220, we the jurors, find in favor of:




        ______________________________________________________________________________
          Plaintiff K.C. Hopps, Ltd.   or   Defendant The Cincinnati Insurance Company,
                                                Inc.




        Note: Complete the following paragraph only if the above finding is in favor of
              plaintiff K.C. Hopps, Ltd.


               We, the jurors, assess the damages of plaintiff K.C. Hopps, Ltd. at:


               $_____________________ (stating the amount).




        This proposed instruction is [is not] agreed upon by the parties.
        Mo. Approved Jury Instr. (Civil) 36.01 (8th ed) (modified)
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102112654.v1
               Case 4:20-cv-00437-SRB Document 167 Filed 09/28/21 Page 30 of 32
          VERDICT FORM H – BREACH OF CONTRACT (Defendant’s Instruction No. 25)


        Note: Complete this form by writing in the name required by your verdict.
              On the claim of plaintiff K.C. Hopps, Ltd. for breach of contract against
        defendant The Cincinnati Insurance Company, Inc., Hopps Catering, LLC, a Kansas
        limited liability company, d/b/a Relish Classic Catering and Moose Truck food truck,
        9112 Cody Street, Overland Park, KS 66214, we the jurors, find in favor of:




        ______________________________________________________________________________
          Plaintiff K.C. Hopps, Ltd.   or   Defendant The Cincinnati Insurance Company,
                                                Inc.




        Note: Complete the following paragraph only if the above finding is in favor of
              plaintiff K.C. Hopps, Ltd.


               We, the jurors, assess the damages of plaintiff K.C. Hopps, Ltd. at:


               $_____________________ (stating the amount).




        This proposed instruction is [is not] agreed upon by the parties.
        Mo. Approved Jury Instr. (Civil) 36.01 (8th ed) (modified)
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102112654.v1
               Case 4:20-cv-00437-SRB Document 167 Filed 09/28/21 Page 31 of 32
          VERDICT FORM I – BREACH OF CONTRACT (Defendant’s Instruction No. 26)


        Note: Complete this form by writing in the name required by your verdict.
              On the claim of plaintiff K.C. Hopps, Ltd. for breach of contract against
        defendant The Cincinnati Insurance Company, Inc., Pan Fried 2, LLC, a Kansas
        limited liability company, d/b/a Stroud’s Overland Park, 8301 W 135th Street,
        Overland Park, KS 66223, we the jurors, find in favor of:




        ______________________________________________________________________________
          Plaintiff K.C. Hopps, Ltd.   or   Defendant The Cincinnati Insurance Company,
                                                Inc.




        Note: Complete the following paragraph only if the above finding is in favor of
              plaintiff K.C. Hopps, Ltd.


               We, the jurors, assess the damages of plaintiff K.C. Hopps, Ltd. at:


               $_____________________ (stating the amount).




        This proposed instruction is [is not] agreed upon by the parties.
        Mo. Approved Jury Instr. (Civil) 36.01 (8th ed) (modified)
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102112654.v1
               Case 4:20-cv-00437-SRB Document 167 Filed 09/28/21 Page 32 of 32
